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                      EXHIBIT 4D
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                                               Attachment A

Fixed Costs

Advertising Expense             Fixed
Auto Expense                    Fixed
Bank Charges                    Fixed
Cleaning and Housekeeping Costs Fixed
COGS - Fixed                    Fixed
Computer and Internet Expenses Fixed
Contract Services               Fixed
Dues and Subscriptions          Fixed
Fees                            Fixed
Franchise Fees - Fixed          Fixed
Insurance                       Fixed
Interest Expense                Fixed
Lease Expense                   Fixed
Licenses And Taxes              Fixed
*Maintenance                    Fixed
Misc Expense                    Fixed
Overhead                        Fixed
Postage                         Fixed
Professional Services           Fixed
Property Taxes                  Fixed
Renovation Expense              Fixed
Rental Expense                  Fixed
Retirement Expense              Fixed
Security Services               Fixed
Storage Expense                 Fixed
Supplies                        Fixed
Unemployment Tax                Fixed
Uniforms                        Fixed
Utilities                       Fixed


Variable Costs
Bad Debt Expense                       Variable
COGS - Variable                        Variable
Commissions                            Variable
Consumable Goods                       Variable
Contract Labor                         Variable
Credit Card Fees                       Variable
Discounts & Rebates                    Variable
Donations / Contributions              Variable
Drug Testing                           Variable
Franchise Fees - Variable              Variable
Freight                                Variable
Fuel Expense                           Variable
Inventory Adjustment                   Variable
*Repairs (excluding Maintenance)       Variable
Sales/Lodging Tax                      Variable
Training & Education                   Variable
Travel & Entertainment                 Variable


Note: Payroll expenses (including Salaries and Wages, Employee Benefits, Overtime Wages, and, where applicable,
401K Payments, but excluding Owner/Officer Compensation) will be allocated between fixed and variable
components based on the agreed-upon payroll methodology.

*If claimant’s financial statements, books and/or records do not separately identify Maintenance costs and Repair
costs, claimant shall allocate costs associated with Repairs and Maintenance 50% to Fixed Costs and 50% to
Variable Costs.
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